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that otherwise wou!d have been paid out of the Administrative Expenses Fund pursuant
to this Agreement but for such payment over ta Merck.

Section 5.4. Form of Notices to Escrow Agent

3.5.1. Notices to the Escrow Agent contemplated by this Article 5 shail be in
such form as the Escrow Agent reasonably may specify from time to time.

Article 6
Administrators

Section 6.1. Appointment and Replacement of Administrative Personnel

6.1.1, This is a private agreement. At the request of the Parties, The
Honorable Eldon E. Fallon has agreed to preside over the Program in the capacities
specified herein. For convenience, Judge Fallon will be referred to herein as the “Chief
Administrator”.

6.1.2. The initial Claims Administrator is Brown Greer PLC.

6.1.3. In the event that Merck, on the one hand, and a majority in number of
the NPC, on the other hand, at any time cannot agree on (i) the identity of any
Administrator (including any replacement Administrator), (ii) whether a particular
Administrator should be terminated (or any other exercise of rights under any
Administrative Agreement that requires for such exercise joint action of Merck and the
NPC (or a majority in number of the NPC)) or (iii) the terms and conditions ofa
proposed Administrative Agreement, Merck or the NPC may, by notice to such effect to
the other and to the Special Master, refer the matter to the Special Master. If the current
Special Master, or the proposed Administrative Agreement of a current or proposed
Special Master, is the subject of the dispute, then references in the preceding sentence,
and in Sections 6.1.4 and 6.1.5, to the “Special Master” instead shall constitute references
to the “Chief Administrator”,

6.1.4. In the event of a dispute described in clause (iii) of Section 6.1.3,
Merck, on the one hand, and the NPC, on the other, shall, within five (5) Business Days
of referral of such matter to the Special Master, submit to each other and the Special
Master its proposed form of Administrative Agreement. Either Merck or the NPC may,
in its discretion, within a further five Business Days, submit to each other and the Specia}
Master a memorandum supporting its position. Iftwo proposed forms of Administrative
Agreements are submitted, the Special Master shall select between the two proposed
forms of agreement on the basis of which proposed agreement in its opinion more closely
reflects what is customary and “market” for agreements of the nature contemplated by the
relevant Administrative Agreement (entered into in the context of programs of the nature
of the Program) and such other matters as the Special Master shall consider appropriate
under the circumstances.

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6.1.5, Any decision of the Special Master pursuant to this Section 6.! shail
be final and Non-Appealable and binding on the Parties and (without limitation of the
foregoing) the Parties shall take all actions required in order to implement such decision.

Section 6.2. Certain General Authority of the Claims Administrator

6.2.1. The Claims Administrator shal! have the authority to perform all
actions, to the extent not expressly prohibited by, or otherwise inconsistent with, any
provision of this Agreement, deemed by the Claims Administrator to be reasonably
necessary for the efficient and timely administration of this Agreement.

6.2.2, The Claims Administrator may create administrative procedures,
supplementary to (and not inconsistent with) those specified herein or in the Exhibits
hereto, that provide further specific details about how Program Claims are administered,
and/or other aspects of the Program; provided, however, that such procedures comply
with the terms of this Agreement.

6.2.3. Without limitation of the foregoing, the Claims Administrator shall
have the authority to modify and/or supplement the form of Enrollment Form, Claims
Form and/or Supplementary Claims Form provided for herein to provide for more
efficient administration of the Program, provided that (2) such changes may not materially
alter the substance of such form withour the consent of both Merck and a majority in
number of the NPC, (ii) such changes in any event must be approved by the liaison
committee described in Section 6.2.4 below and (iii) no change shal! be made in the form
of Release, form of Dismissal With Prejudice Stipulation, form of Medical Record
Authorization Form or form of Employment Record Authorization Form without Merck's
prior written consent.

6.2.4. Each of Merck and the NPC shal! appoint one or two individuals (such
number to be determined in each of their respective discretion) to act ag a liaison with the
Claims Administrator, including answering any questions that the Claims Administrator
may have with respect to the interpretation of any provision of this Agreement.

Section 6.3. Liability of Administrative Personnel.

Without limitation of 16.9.2, no Administrator, or employee or agent of any
Administrator, shall be liable to any Program Claimant or any Enrolling Counsel for his acts or
omissions, or those of any agent or employee of any Administrator, in connection with the
Program except, with respect to each such Person, for such Person’s own willful misconduct.
Nathing in this Section 6.3 confers on any Program Claimant or Enrolling Counsel any privity of
contract with, or other right to institute any action against, any Administrator.

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Article 7
Certain Litigation Matters

Section 7.]. Merck Defenses

Merck agrees that, except as reflected in (i) the requirements for constituting an
Eligible Claimant, (ii) the Eligibility Requirements or (iii) the Point Awards Criteria, and without
limitation of, and subject to, all of the other express terms of this Agreement (including Article
10), any defenses of liability that Merck might otherwise have as against the Program Claims of
any particular Enrolled Program Claimant, such as statutes of limitation and repose, jurisdiction,
venue, mitigation, comparative/contributory negligence, assumption of risk, independent
intervening cause and products’ liability, specific defenses such as state of the art, no safe
alternative design, preemption, FDA and other regulatory approval, learned intermediary, etc.,
shall not (for purposes of, and solely for purposes of, this Agreement) apply to such Program
Claim of such Enrolled Program Claimant. For the avoidance of doubt, it is understood and
agreed that any and all such defenses (and any and all other available defenses) shall be available
10 Merck with respect to any litigation outside of this Agreement with such Enrolled Program
Claimant (including in the event that his Release is returned to him as set forth herein).

Section 7.2. Tolling

Without limitation of Section 7.1, in order to avoid the necessity of filing or
pursuing a VIOXX-related claim, Merck. hereby agrees, with respect to each Enrolled Program
Claimant who is a party to a Tolling Agreement (but not any other Tolling Agreement Party) and
who exits the Program under circumstances such that his Release is returned to him, to toll, for
60 days following such exit, the running of any applicable statute of limitations that otherwise
may apply to the EC Claim of such Enrolled Program Claimant. If such Enrolled Program
Claimant does not, within such 60-day period file a complaint against Merck with respect to the
EC Claim of such Enrolled Program Claimant, then the Claims Adminisirator shall deliver the
Enrolled Program Claimant’s Dismissal With Prejudice Stipulation and Release to Merck (and,
without imitation, Merck shal! be free to file or cause to be filed such Dismissal With Prejudice
Stipulation and/or Release in any relevant action or proceeding). All Tolling Agreements
heretofore entered into between an Enrofled Program Claimant and Merck are otherwise
terminated and superseded by this Agreement, except as provided above.

Section 7.3. Use of Dismissal With Prejudice Stipulations and Releases Prior to Certain
Events

Except as otherwise provided in this Agreement, the Claims Administrator shall
retain control of the Release and Dismissal With Prejudice Stipulation of any particular Program
Claimant until such time as the Final Settlement Payment or Fixed Payment, as applicable, is
made to such Enroiled Program Claimant hereunder, at which time such Dismissa} With
Prejudice Stipulation and such Enrolled Program Claimant’s Release shall be delivered to Merck
(and, without limitation, Merck shall be free to file or cause to be filed such Dismissal With
Prejudice Stipulation and/or Release in any relevant action or proceeding).

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Section 7.4. Pursuit of Certain Claims

7.4.1, From and after the date on which an Enrollment Form ts submitted in
relation to a particular Program Claimant until the earlier of (1) the date on which such
Program Claimant’s Dismissal With Prejudice Stipulation js delivered to Merck pursuant
hereto or (ii) ifapplicable, the date such Enrollment Form is rejected by the Claims
Administrator or Merck in relation to such Program Claimant pursuant to Section 1.2.5 or
Section 1.2.6 or such Program Claimant exits the Program under circumstances such that
his Release is returned to him, such Program Claimant, and all related Executing
Derivative Claimants, shall:

TAL. be prohibited from, and refrain from, taking any action
(including any legal action) to initiate, pursue or maintain, or otherwise attempt to
execute upon, collect or otherwise enforce, any actual or alleged Released Claims
and Liabilities of or against Merck or any other Released Party (other than to the
extent inherent in making and pursuing a Program Claim in accordance with the
terms of this Agreement);

7AL2. without limitation of Section 7.4.1.1, (2) cooperate in all
reasonable respects with Merck to seek to stay, and to continue in effect any then
outstanding stay with respect to, any pending legal proceedings instituted by such
Program Claimant and/or Derivative Claimants against Merck or any other
Released Party Connected With VIOXX and (ii) refrain from instituting any new
legal action against any Released Party Connected With VIOXX; and

FAL, without limitation of Section 7.4.1.1 or 7.4.1.2, be
prohibited from, and refrain from, attempting to execute or colicct on, or
otherwise enforce, any judgment that may be entered against Merck or any other
Released Party in any legal action described in Section 7.4.1.2.

Further, if such Program Claimant is determined or deemed to be a Qualifying Program
Claimant, or exits the Program under circumstances such that his Release remains in
effect, in furtherance and not in limitation of such Release, any judgment referred to in
Section 7.4.1.3 automatically shall be deemed to have been Released (as such term is
defined in such Release) by such Program Claimant and all such Derivative Claimants,
and such Program Claimant and Derivative Claimants shall execute such instruments, and
take such other actions, as Merck reasonably may request in order to further evidence or
implement the same.

74.2, Without limitation of Section 7.4.! (and in addition to and without
limitation of the terms of his Release), each Enrolled Program Claimant, and all related
Executing Derivative Claimants, jointly and severally, shall indemnify and hold harmless
Merck and each other Merck Released Party from and against (i) any and al! Claims
made or asserted (prior to, on or after the date of such Enrolled Program Claimant's
Program Claim) against Merck or any other Merck Released Party by any Non-Merck
Released Party (for contribution, indemnity (contractual or non-contractual) or
otherwise) arising out of any Claim Connected With VIOXX made or asserted at any

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time by such Enrolled Program Claimant, and/or any Derivative Claimant and/or Product
User with respect to such Enrelled Program Claimant, against any Non-Merck Released
Party and (ii) any and all damages, losses, costs, expenses (including legal fees and
expenses) and/or Liabilities incurred or suffered by, or imposed on, any Merck Released
Party in connection with, arising out of or resulting from (x) any Clairn described in
clause (i) (including any amount paid or required to be paid in satisfaction of any such
Claim), {y) any judgment suffered by any Merck Released Party in any legal action
described in Section 7.4.1.2 (including any amount paid or required to be paid in
satisfaction of any such judgment) and/or (z) any violation by such Enrolled Program
Claimant, and/or any related Executing Derivative Claimant, of Section 7.4.1. This
Section 7.4.2 shall become null and void in the event that such Enrolled Program
Claimant exits the Program under circumstances such that his Release is returned to him.
Merck may setoff all or any portion of any amount payable to any Merck Released Party
pursuant to this Section 7.4.2 by an Enrolled Program Claimant against an equal amount
of any Funding Payment obligation hereunder in respect of any Settlement Payment from
time to time payable under this Agreement to such Enrolled Program Claimant (and such
setoff shall be deemed to satisfy, to the extent of the amount of such setoff, both such
Funding Payment obligation and the relevant Settlement Payment obligation to such
Enrolled Program Claimant),

Article 8
Submission to Authority

Section 8.1]. Submission to Authority of Chief Administrator and Special Master

8.1.1. Each Party and, by submitting an Enrollment Form, each Program
Claimant and Enrolling Counsel, agrees that authority over the process contemplated by
the Program, including any Claims submitted under the Program, resides with those
Persons appointed pursuant to this Agreement to exercise that authority, as such authority
is specified in this Agreement.

8.1.2, Except as specifically provided in this Agreement, any dispute that
arises under or otherwise in connection with (i) this Agreement and/or any Program
Claim and/or (ii) any other Administrative Agreement under which disputes are agreed to
be handied in the manner set forth in this Article 8, shall be submitted ta the Chief
Administrator who shall sit as a binding arbitration panel and whose decision shall be
final, binding and Non-Appealable. If any such dispute is brought to the Chief
Administrator, each party who has a stake shall have 15 days (or as the Chief
Administrator shall otherwise order) to submit papers and supporting evidence and to be
heard on oral argument if the Chief Administrator desires oral argument.

8.1.3. If the Chief Administrator concludes, for whatever reason, that he
should not determine an issue arising under this Agreement or otherwise in connection
with this Agreement and/or any Program Claim, the Special Master shail sit as a binding
arbitration panel to decide the issue.

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8.1.3.1. In such instances, any party may serve a demand for
arbitration on the Special Master and al] parties whe have a stake in the issue
disputed. Service shall be effected by regular and certified mail. Service shall be
complete upon mailing.

§,1,3.2. The parties who have a stake in the issue disputed and
who participate in the arbitration shal] agree upon appropriate rules to govern the
arbitration, If the parties cannot agree on appropriate rules within ten (10)
Business Days of the service of the notice of demand, the applicable rules shal! be
the American Arbitration Association’s Commercial! Arbitration Rules that are
effective on the date of the notice of demand, exclusive of the requirement that
the American Arbitration Association administer the arbitration.

8.1.3.3. In deciding the issue disputed, the Chief Administrator’s
prior decisions on analogous matters shall bind the Special Master. Where the
Chief Administrator has not decided an analogous matter, the Special Master shall
apply the substantive law specified in Section 16.3, without regard to that
jurisdiction’s choice-of-law rules.

8.1.4, The Parties agree that if the Special Master is, under applicable law,
precluded from determining an issue otherwise to be determined by the Special Master
pursuant to Section 8.1.3, then any suit, action or proceeding by either Party with respect
to such matter may be instituted in (and only in) the U.S. District Court for the Eastern
District of Louisiana (and appellate courts for the foregoing). Each Party hereby:

8.1.4.1. (i) consents and submits, for itself and its property, to the
jurisdiction of such courts for the purpose of any suit, action or proceeding
instituted against it pursuant to this Section 8.1.4, and (ii) agrees that a final
judgment in any suit, action or proceeding shall be conclusive and may be
enforced in other jurisdictions by suit on the judgment or in any other manner
provided by law;

8.1.4.2. agrees that service of all writs, process and summonses in
any suit, action or proceeding pursuant to this Section 8.1.4 may be eficcted by
the mailing of copies thereof by registered or certified mail, postage prepaid, to it
at its address for notices pursuant to Section 16.1.1, such service to become
effective 30 days after such mailing, provided that nothing contained in this
Section 8,1,4.2 shall affect the right of any party to serve process in any other
manner permitted by law;

8.1.4.3. (i) waives any objection which it or he may now or
hereafter have to the laying of venue of any suit, action or proceeding pursuant to
this Section 8.1.4 brought in any court specified above in this Section 8.1.4, (11)
waives any claim that any such suit, action or proceeding brought in any such
court has been brought in an inconvenient forum and (iii) agrees not to plead or
claim either of the foregoing; and

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8.1.4.4. WAIVES ANY RIGHT IT MAY HAVE TO A TRIAL
BY JURY OF ANY ACTION, SUIT OR PROCEEDING PURSUANT TO THIS
SECTION 8.1.4 AND AGREES THAT ANY SUCH DISPUTE SHALL BE
TRIED BEFORE A JUDGE SITTING WITHOUT A JURY.

Article 9
Attorneys’ Fees

Section 9.1. Individua] Counsel Attorneys’ Fees

Neither Merck nor any other Released Party shall have any responsibility
whatsoever for the payment of Enrolled Program Claimants’ (and/or related Executing
Derivative Claimant’s) attorneys’ fees or costs, The Claims Administrator shall endeavor to
make all Settlement Payments owed in relation to any particular Program Claim pursuant to this
Agreement payable in the name of the relevant Enrolled Program Claimant, his Counsel {if any)
and each related Executing Derivative Claimant, subject to a reduction pursuant to common
benefit fees and reimbursement of costs as set forth in Section 9.2 below as determined by the
Chief Administrator. (For the avoidance of doubt, any such reduction nonetheless shall
constitute a Settlement Payment.) However, none of the Released Parties or the Claims
Administrator shall have any Liability for any failure to do so. No notice of representation or
change in representation by any Enrolled Program Claimant (and/or any Executing Derivative
Claimant with respect to such Enrolled Program Claimant), other than that which is made in such
Enrolled Program Claimant’s Enrollment Form, shall change the application of this Section 9.1.
Any division of any Settlement Payment with respect to, and as between, any Enrolled Program
Claimant, any related Executing Derivative Claimants and/or his or their respective counsel is to
be determined by such Persons and any such division, or any dispute in relation to such division,
shall in no way affect the validity of this Agreement or the Release or Dismissal With Prejudice
Stipulation executed by such Enrolled Program Claimant (and any related Executing Derivative
Claimants) or his Counsel, as applicable, Nothing in this Section 9.1 limits or qualifies Article
12 (including in particular Sections 12.1.3 and 12.1.5).

Section 9.2. Common Benefit Fees and Reimbursement of Litigation Costs

9.2.1. To ensure that NPC, PSC, PEC, PLC, and common benefit attorneys
(hereinafier referred to as "Common Benefit Attomevs") are fairly compensated but that
their fees are in conformance with reasonable rates, ar! assessment of common benefit
attorneys’ fees will be imposed at no more than 8% of the gross amount recovered for
every client that registers under the terms of the Settlement Agreement. Any sum paid as
a common benefit fee shal] be deducted from the total amount of counsel fees payable
under individual plaintiffs’ counsel’s retainer agreement. The maximum 8% attorneys’
fee assessment shall supersede the assessment provided to MDL common benefit
attorneys pursuant to Pretrial Order No. 19,

9.2.2, In addition to those amounts provided in Section 9.2 above, Common
Benefit Attorneys shall also be entitled to reimbursement of their reasonable common
benefit expenses, Reimbursement of these expenses shall be deducted from the clients’
net recovery. The PLC shal! submit to the Claims Administrator the audited common

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benefit expenses of Common Benefit Attorneys,’ which sum will be deducted on an equa!
percentage basis from the MI Settlement Fund and IS Settlement Fund.

9.23. Pursuant to Sections 9.2.1 and 9.2.2, the attorneys’ fees and common
benefit expenses deducted by the Claims Administrator shall be deposited inte an interest
bearing escrow account (the "Settlement Fee and Cost Account"). The Settlement Fee and
Cost Account shall be maintained at a financial institution. Funds within the Settlement
Fee and Cost Account shall be administered by the Honorable Eldon E, Fallon and all
awards therefrom will be subject to approval, upon due consideration by him in
consultation with the Honorable Victoria G. Chaney, the Honorable Caro] E. Higbee, and
the Honorable Randy Wilson, and in accordance with established Fifth Circuit precedent,
e.g., Blum v. Stenson, 465 U.S. 886, 900 (1984); Copper Liquor, Inc. vy. Adolph Coors
Co., 624 F.2d 575, 583 n, 15 (Sth Cir.1980); Johnson v, Ga. Highway Express, Inc., 488
F.2d 714, 717-19 (5th Cir.1974); Strong v. BellSouth Telecomms., Inc., 137 F.3d 844,
851-52 & n. 5 (Sth Cir.1998); Forbush y. J.C. Penney Co., 98 F.3d 817, 823 (5th
Cir.1996); Turner v. Murphy Oi] USA, Inc., 472 F.Supp.2d 830 (E.D.La. 2007).

9.2.4, The Honorable Eldon E. Fallon will be asked to appoint a committee
of eight plaintiffs’ counsel which shall include all members of the NPC and two
additional plaintiffs’ attorneys to be responsible for recommending to the Honorable
Eidon E. Fallon the allocation of awards of attorneys’ fees from the Settlement Fee and
Cost Account. In making its recommendation the "Allocation Committee” is to review
the contemporaneous time records, or properly reconstructed time records and expense
reports of all plaintiffs’ counsel that request compensation for common benefit work, as
audited by the CPA firm of Wegman Dazett. The Allocation Committee shall take into
consideration the common benefit work of counsel in the MDL, and the work of counsel
in the state litigations in Texas, California and New Jersey. The Allocation Committee
shall be guided by these objective measures of common benefit counsel's contributions,
in addition to their subjective understanding of the relative contributions of counsel
towards generating the Settlement Fund in accordance with established fee jurisprudence
and subject to the approval of the Honorable Eldon E. Fa!lon in consultation with the
Honorable Victoria G. Chaney, the Honorable Carol E. Higbee, and the Honorable Randy
Wilson.

9,25. The Honorable Etdon E. Fallon shall provide appropriate notices
governing the procedure by which he shall determine common benefit attorneys’ fees and
reimbursement of common benefit expenses, including Common Benefit Attorneys’ joint
submission of papers by the PLC requesting compensation for their common benefit
work, including the submission of contemporaneous time records, or properly
reconstructed time records and expense reports, and any accompanying affidavits. The
Honorable Eldon £. Fallon shall insure that there is ample opportunity for objections and
comments to the application and notice ofa hearing regarding the same. The Honorable
Eldon E, Fallon shal] set time and place of said hearing.

9.2.6. Merck takes no position regarding, and has no responsibility or
Liability for, the award of common benefit attorneys’ fees and the reimbursement of costs

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under this Section, or the allocation of the same, and waives the right to contest these
matters.

Article 10
Ouality Control and Audit Procedures

Section 10,1. Prevention and Detection of Fraud - General

10.1.1, The Claims Administrator shall have the authority and obligatian to
institute claim-auditing procedures and other procedures designed to detect and prevent
the payment of fraudulent Program Claims.

10.1.2. The submission of fraudulent Claims will violate the criminal laws of
the United States, and subject those responsible to crimina! prosecution in the federal
courts.

10.1.3. The Claims Administrator shall notify the Special Master, Merck and
the NPC, as well as any implicated Program Claimant and his Counsel, of any indicia of
deception, dishonesty or fraud of which it becomes aware relating to any Program Claim
or in any way to the Program. The Program Claimant and/or his Counsel shall have the
right to contest such suggestion of misconduct to the Special Master by requesting a
hearing within 10 days of receiving such notice. The Special Master may promulgate and
revise rules for reviewing and resolving allegations of deception, dishonesty or fraud.

10.1.4... No Settlement Payment may be paid in respect of a Program Claim
while that Claim (i) is the subject of an audit by the Claims Administrator (and to that
end, the Claims Administrator shal] notify Merck and the NPC from time to time of
which Program Claims are then subject to audit) or (ii) is the subject of an audit by
Merck or the NPC for good cause.

Section 10.2. Mandatory Periodic Audits

10.2.1. Without limitation of Section 10.1, (i) after 2,500 Program Claims
have been Completed (or, if later and if so requested by Merck, 60 days after the
Enrollment Deadline Date) (the applicable date, the “Periodic Audit Start Date”), on a
quarterly basis the Claims Administrator shall audit between 2.0% and 5.0% (the precise
percentage within such range to be reasonably determined by Merck and the NPC from
time to time or, if they cannot agree, as determined by the Claims Administrator (within
such range) in its discretion) of the total Program Claims Completed by Enrolied
Program Claimants during the prior quarter (or, in the case of the first such audit, since
the Execution Date) and (ii) the Claims Administrator otherwise may audit such other
Program Claims as the Claims Administrator, in its discretion, shall determine is
warranted.

10.2.2. Program Claims shall be selected for audit on such basis as the Claims
Administrator may determine from time to time (taking into account, without limitation,
any suspicions of, or past findings of, fraud, deception or dishonesty in connection with
the Program).

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10.2.3. With respect to Program Claims which are selected for audit, the
Claims Administrator may require that the relevant Enrolled Program Claimant provide it
with (i) identification of and authorizations for the release of all PME Records from al]
general practitioners, family physicians, primary care providers, internists, prescribing
physicians, pharmacies, Dispensing Physicians, treating cardiologists, treating
neurologists and inpatient or outpatient hospitals or any other healthcare providers who,
at any time during the seven-year period prior to, or the one-year period after, the date of
the alleged Eligible Event that is the basis of such Enrolled Program Claimant's Program
Claim, rendered any medical care to and/or were consulted by the Product User for such
Program Claim and (it) such other relevant records or other documentation Cin addition to
the PME Records and Additional Claim Information submitted as part of the Program
Claim} within the Enrolled Program Claimant’s custody, possession, or control as may
reasonably be requested by the Claims Administrator. Ifthe Enrolled Program Claimant
fails or refuses to provide any material records or other documentation (reasonably
available to such Enrolled Program Claimant) after being afforded an adequate
opportunity to do so, then, without limitation of the possible application of the remainder
of Section 10.4, Section 10.4.2.1 and Section 10.4.2.2 shall be applied to such Enrolled
Program Claimant and his Program Claim.

10.2.4. If following completion of its audit of a Program Claim (or upon
referral of a matter to the Claims Administrator by Merck or by the NPC pursuant to
Section 10.3.3), the Claims Administrator determines that Section 10.1.3 is applicable,
then the Claims Administrator shail] proceed as specified in Section 10.1.3.

Section 10.3. Merck/NPC Audit Right

10.3.1. Merck and the NPC shall each have the absolute right and discretion at
any time or from time to time, but at its expense, to itself conduct, or have conducted by
an independent auditor, audits to verify Program Claims submitted by Program Claimants
or any aspect thereof (including PME Records); such audits may include individual
Program Claims or groups of Program Claims. The Claims Administrator shal) fully
cooperate with any such audit. Section 10.2.3 shail apply to any Program Claims
selected for audit by Merck or the NPC (with all references in said Section to the “Claims
Administrator” being deemed to constitute references to “Merck” or “the NPC”,
respectively, for such purpose).

10.3.2. Merck or the NPC shal] notify the other (and the Claims
Administrator) of any audit that it is conducting or having conducted pursuant to Section
10.3.1 and which Program Claims (if any in particular) are to be audited,

10.3.3. If following completion of its audit of a Program Claim, Merck or the
NPC is of the view that ary indicia of deception, dishonesty or fraud relating to any
Program Claim or in any way to the Program exist, Merck or the NPC, as the case may
be, may bring such matter to the attention of the Claims Administrator for possible action
pursuant to Section 10.2.4 and/or may proceed directly to make a motion to the Special
Master for action pursuant to Section 10.4.2.

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Section 10.4. Relief

10.4.1. Each of the Claims Administrator, Merck and the NPC shai] have the
right to petition to the MDL Court (or, if the MDL Court does not have jurisdiction over
the relevant parties, another court that has such jurisdiction) for appropriate review and
relief in the event of the detection of any indicia of deception, dishonesty or fraud reiating
to any Program Claim or in any way to the Program.

10.42. Without limitation of Section 10.4.1 and any term in this Agreement to
the contrary notwithstanding, in the event that the Special Master upon motion by the
Claims Administrator, Merck or the NPC determines that a Program Claimant (and/or
any related Executing Derivative Claimant), or Counse! for such Program Claimant, has
used, or that there is substantial evidence that a Program Claimant (and/or any related
Executing Derivative Claimant), or Counsel for such Program Claimant, has used,
deception, dishonesty or fraud in connection with the Program Claim of such Program
Claimant:

10.4.2,1, such Program Claimant’s Program Ciaim shall be denied
and such Enrolled Program Claimant immediately shall cease to have any further
rights under the Program, but such Program Claimant’s Dismissal! With Prejudice
Stipulation and Release shall be delivered to Merck (and, without limitation,
Merck shall be free to file or cause to be filed such Dismissal With Prejudice
Stipulation and/or Release in any relevant action or proceeding);

10,.4.2.2. each of such Program Claimant (if the Specia! Master
makes such determination in respect of such Program Claimant) and such Counsei
(if the Special Master makes such determination in respect of such Counsel} shall
fully be liable () for the costs and expenses (including legal costs and expenses)
incurred by any Administrator, Merck and/or the NPC in connection with any
related audit and/or any related proceedings (including MDL Court, or other
court, proceedings) under this Section 10.4 and (ii) if applicable, to repay to
Merck any Settlement Payment previously paid to or with respect to such
Program Claimant (and any such repayment of such Settlement Payment in whole
or in part shall be disregarded for purposes of Section 5.2); and

10.4.2.3. such Program Claimant (and/or any related Executing
Derivative Claimant}, such Counsel and/or such Counse!’s other Program
Claimants shall be subject to such further sanctions or other penalties as the
Special Master may impose, including (i) in the case of such Counsel (and/or such
Counsel’s other Program Claimants), raising the level of scrutiny of (including
conducting audits, incremental to those conducted pursuant to Section 10.2, af},
modifying the timing of the review of, and/or requiring such Counsel to pay the
cosis and expenses associated with any future audits (mcluding any such
incremental audits) of, any other Program Claim of any or all of the other
Program Claimants for which it is Counsel, (ii) suspension of any Interim
Settlement Payments to all other Program Claimants of such Counsel and/or (iii)
referral of the matter 1o the United States Attorney or other appropriate law

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enforcement officials for possible criminal prosecution, provided that no such
further sanctions or other penalties shall affect the status of any other Program
Claimant or its Program Claim unless such sanction or other penalty is consented
to by Merck.

10.4.3. In the event that the Claims Administrator determines that any Person
(other than a Program Claimant or Counsel) has engaged or participated in, or that there
is substantial evidence that such Person has engaged or participated in, deception,
dishonesty or fraud in relation 10 any Program Claim, then, without limitation of Section
10.4.2;

10.4.3.1. the Claims Administrator shall refer such matter for
possible action by the Special Master pursuant to Section 10.4.2;

10.4.3.2. pending resolution by the Specia! Master of such matter
pursuant to Section 10.4.2, the Claims Administrator shall suspend further
consideration of any documentation (including PME Records) from such Person;
and

10.4.3.3. the Claims Administrator may raise the level of scrutiny
of (including conducting audits, incremental to those conducted pursuant to
Section 10.2, of), and/or modify the timing of the review of, any other Program
Claim that includes documentation from such Person.

10.4.4, In connection with the exercise by each of the Claims Administrator,
Merck and the NPC of its rights under this Article 10, cach of the Claims Administrator,
Merck and the NPC, as applicable, may request a Program Claimant whose Program
Claims are subject to an audit hereunder to deliver to it such authorization(s) as may
reasonably be requested by the Claims Administrator, Merck or the NPC, as applicable,
in order to permit the Claims Administrator, Merck or the NPC, as applicable, to request
and obtain such additional records as the Claims Administrator, Merck or the NPC, as
applicable, may determine, including PME Records. Any such authorization shall be in a
form prepared by the Claims Administrator, Merck or the NPC, as applicable, Ifthe
Program Claimant fails or refuses to execute and deliver to the Claims Administrator or
Merck, as applicable, any such authorization within thirty (30) days after receipt of such
form, then, without limitation of the possible application of the remainder of Section
10.4, Section 10.4.2.1 and Section 10.4.2.2 shail be applied to such Program Claimant
and his Program Claim.

Section 10.5. Inaccuracy of Representations, Warranties or Certifications

Without limitation of the foregoing provisions of this Article 10, in the event that
any representation, warranty, certification or covenant made in any Enrollment Form, Release or
Dismissal With Prejudice Stipulation is inaccurate or breached in any material respect (and such
inaccuracy or breach is not cured within ten (10) days of notice thereof by the Claims
Administrator or Merck to the relevant Program Claimant (or his Counsel, if any)), Merck in its
sole and absolute discretion (and without limitation of any other remedy that Merck may have in

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respect of such matter, whether at law or in equity) at any time prior to any filing by Merck of
such Enrolled Program Claimant’s Dismissal With Prejudice Stipulation, may (any other term of
this Agreement to the contrary notwithstanding) reject the Program Claims of, and (if applicable}
rescind all Settlement Payments made to or with respect to, such Program Claimant. In such
case, (i) the affected Program Claimant immediately shal] cease to have any further rights under
the Program, (ii) the affected Program Claimant’s Release and Dismissal With Prejudice
Stipulation shall, subject to Section 7.2, be returned to such Program Claimant (unless Section
10.4.2.1 is applicable to such Program Claimant, in which case this clause (ii) shall not apply to
such Program Claimant) and (z) such affected Program Claimant, and his Counsel, shall be
jointly and severally liable to repay to Merck any Settlement Payment previously paid ta or with
respect to, such Program Claimant. Any repayment of such Settlement Payment in whole or in
part shall be disregarded for purposes of Section 5.2.

Section 10.6. No Misrepresentation of Program

Each Enrolling Counsel hereby covenants not to make any misrepresentation with respect
to the Program or the terms and conditions of this Agreement to any Person, for example by
leading Persons who are not Eligible Claimants to believe that they are, or may become, eligible
to receive any Settlement Payment. The Parties agree that the provisions of this Section 10.6 are
an essential element of this Agreement and that a breach of any such provision shall constitute a
material breach of this Agreement entitling Merck to an immediate remedy against any Enrolling
Counsel who breached such provision, including injunctive relief and attorneys’ fees.

Article 11
Walk Awav Rights and Termination of the Agreement

Section 11,1]. Walk Away Richts and Termination of the Agreement

Merck shall have the option, in its sole discretion, to terminate the Program and
this Agreement under any of the following circumstances (such option, the “Walk Away Right”):

Ih). Gf

11.1.1.1. the number of Ad? Etigible Claimants (constituting
Registered Eligible Claimants) who deliver Enrollment Forms to the Claims
Administrator by the Walk Away Enrollment Deadline Date, and whose
Enrollment Forms are not rejected (in relation to such MI Eligible Claimants) by
the Claims Administrator or Merck prior to the 30th day afier the Walk Away
Enrollment Deadline Date, is less than

11.1.1.2. 85% of the greater of (x) the aggregate number of
Registered Eligible Claimants constituting (according solely to the respective
Registration Affidavits) MI Eligible Claimants, and (y) 28,500;

11.12. iff

13.1.2.1. the number of 13 Eligible Claimants (constinating
Registered Eligible Claimants} who deliver Enrollment Forms to the Claims

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Administrator by the Walk Away Enrollment Deadline Date, and whose
Enrollment Forms are not rejected (in relation to such IS Eligible Claimants) by
the Claims Administrator or Merck prior to the 30th day after the Walk Away
Enrollment Deadline Date, is less than

11.1.2.2. 85% of the greater of (x) the aggregate number of
Registered Eligible Claimants constituting (according solely to the respective
Registration Affidavits) IS Eligible Claimants, and (y) 17,000;

11.1.3. ift

11.1.3.1. the number of Registered Eligible Ciaimants who (i) are
alleging (according solely to the respective Registration Affidavits) use of
VIOXX prior to the respective Related Eligible Events for more than 12 months
and (ii} deliver Enrollment Forms to the Claims Administrator by the Walk Away
Enrollment Deadline Date, and whose Enrollment Forms are not rejected Gin
relation to such Registered Eligible Claimants) by the Claims Administrator or
Merck prior to the 30th day after the Walk Away Enrollment Deadline Date, is

less than

11.1.3.2. 85% of the aggregate number of Registered Eligible
Claimants alleging (according solely to the respective Registration Affidavits) use
of VIOXX prior to the respective Related Eligible Events for more than 12
months; or

1.4. if

1.1.4.1, — the number of Registered Eligible Claimants who (i) are
alleging (according solely to the respective Registration Affidavits) death as an
injury and (ii) deliver Enrollment Forms to the Claims Administrator by the Walk
Away Enrollment Deadline Date, and whose Enrollment Forms are not rejected
(in relation to such Registered Eligible Claimants) by the Claims Administrator or
Merck prior to the 30th day after the Walk Away Enroilment Deadline Date, is
less than

11.1.4.2. 85% of the aggregate number of Registered Eligible
Claimants alleging (according solely to the respective Registration Affidavits)
death as an injury; or

11.1.5. ifany member of the PSC, any member of the steering committee in
the Texas Coordinated Proceeding, any member of the steering committee in the
California Coordinated Proceeding, any counsel who served in any capacity as trial
counsel in any case in the Coordinated Proceedings, or any counsel who as of the
Execution Date has entered an appearance in any case in or outside the Coordinated
Proceedings that has a trial date {or any law firm of or with which any such individual
Jawyer is a partner, associate or otherwise affiliated) (a “Section 11.1.5 Counsel” ), either
(i) is the subject of a determination of non-compliance pursuant to Section 1.2.9 with
respect to the requirements of Section 1.2.8.1, 1.2.8.2 or 1.2.8.3 or (ii) is the subject of a

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determination of non-compliance pursuant to Section 11.1.5.1 with respect to the
requirements of Section 1.2.8.1, {.2.8.2 or 1.2.8.3 applied solely for this purpose as if
such Section 11.1.5 Counsel submitted an Enrollment Form and a Certification of Final
Enrollment on December 31, 2007 and on such date continued to represent 100% of the
Eligible Claimants in which such Section 11.1.5 Counsel had an Interest as of the
Execution Date;

11.1.5.1. Upon request from Merck at any time, the Chief
Administrator will determine whether a Section 11.1.5 Counsel has failed to
comply with the requirements of Section 1.2.8.], 1.2.8.2 or 1.2.8.3, applied as
described in clause (it) of Section 11.1.5, in any respect. The Chief
Administrator’s decision on this matter shall be final, binding and Non-
Appealable.; or

13.1,6. if the Registration Order is not entered by the 10th day afler the
Execution Date, or if any Coordinated Proceedings Counsel fails, by January 15, 2008,
to file a Registration Affidavit complying in all respects with the Registration Order.

For the avoidance of doubt, for the purpose of Merck’s Walk Away Right and termination of this
Agreement under this Article, all Legal Representatives of a decedent, which decedent and/or
any of whose Legal Representatives is an “Eligible Claimant”, are counted as a (single)
“Registered Eligible Claimant” (so long as data for such decedent is provided in a properly
completed, and submitted, Registration Affidavit). (For the purpose of Settlement Payments, a
Legal Representative of a decedent is entitled to no payment before a court of competent
jurisdiction approves the distribution.)

Section 11.2. Time to Exercise Walk Away Right

11.2.1. Merck may exercise its Walk Away Right in relation to Section 11.1.1,
11.1.2, 11.1.3, 11.1.4, 11.1.5 or 11.1.6 at any time until forty-five (45) days after the
Walk Away Enrollment Deadline Date,

11.2.2, Merck, in its sole and absolute discretion, may irrevocably waive its
Walk Away Right, in relation to any one or more of Sections 11.1.1, 11.1.2, 11.1.3,
11.1.4, 11.1.5 and 11.1.6, by a written notice to such effect and expressly captioned
“Section 11.2.2 Waiver Notice” delivered to the NPC.

Section 11.3. Notice of Exercise

Merck shall exercise its Walk Away Right by giving written notice to the NPC
and to each of the Judges overseeing the Coordinated Proceedings.

Section 11.4. Effects of Termination

11.4.1. Upon exercising its Walk Away Right, any term of this Agreement or
ihe Escrow Agreement to the contrary notwithstanding:

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11.4,1.1. this Agreement immediately shall terminate and (without
limitation of the foregoing) Merck immediately shall cease to have any further
financial obligations under this Agreement {including under Section 5.]}, except
only (i) that Merck shall continue to be responsible to pay the Administrative
Expenses specified in clauses (i) and (ii) of Section 11.4.1.3 and (ii) for any
obligations of Program Claimants or their Counsel pursuant to Section 10.4.2.2;

11.4.1.2. any amount then on deposit in either Settlement Fund
forthwith shall be paid over to Merck (and the NPC, on Merck's request, shall
execute and deliver any direction to the Escrow Agent necessary to effect the
foregoing); and

11.4.1.3. any amount then on deposit in the Administrative
Expenses Fund shall be returned to Merck, with Merck continuing to be
responsible for any payment of Administrative Expenses that are authorized under
the Administrative Agreements and that (i) had already accrued at the time Merck
exercised its Walk Away Right or (ii) accrued thereafter as legitimate expenses
related to winding up the Program.

11.4.2. In the case of any exercise by Merck of its Walk Away Right, all
Releases and Dismissal With Prejudice Stipulations shall, subject to Section 7.2, be
returned to the applicable Enrolled Program Claimant or destroyed,

Article 12
Liens

Section 12.1, Liens

12.1.1. Without limitation of Section 12.1.3, each Enrolled Program Claimant
shall identify to Merck and to the Lien Resolution Administrator all Governmental
Authority Third Party Providers/Payors known to them to hold or assert a statutory Lien
with respect to any Settlement Payment (and/or the right to receive such Settlement
Payment), through procedures and protocols to be established by the Lien Resolution
Administrator, subject to approval by the Claims Administrator. Enrolled Program
Claimants and their respective Counsel shall be solely responsible to negotiate the
satisfaction and discharge of all such statutory Liens. Enrolled Program Claimants and
their respective Counsel must cooperate with the procedures and protocols established by
the Lien Resolution Administrator to identify and resolve Governmental Authority Third
Party Payor/Provider statutory Liens.

12.1.2. The Lien holders who must be identified include those Governmental
Authority Third Party Providers/Payors that hold statutory Liens and have paid for or
reimbursed Enrolled Program Claimants (or the Product Users corresponding thereto) for
VIOXX or any health care provider costs or expenses based upon the provision of
medical care or treatment provided to the Enrolled Program Claimant (or the Product
User corresponding thereto) Connected With VIOXX or alleged to be Connected With
VIOXX; provided that nothing herein is intended to create a right of reimbursement

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where none would otherwise exist under applicable state or federal tort recovery statutes.
Prior to receiving any Settlement Payment, each Enrolled Program Claimant, his related
Executing Derivative Claimants, and their respective Counsel, jointly and severally shall
represent and warrant that any and al] statutory Liens with respect to any and all
Settlement Payments (and/or the right to receive any and all such Settlement Payments)
have been satisfied and discharged.

12.1.3. In any event and any term of this Agreement to the contrary
nopwithstanding, satisfaction and discharge of any and all Liens, whether past, present or
future, whether known or unknown or asserted or unasserted, with respect to any
Settlement Payment (and/or the right to receive any Settlement Payment) are the sole
responsibility of the relevant Enrolled Program Claimant (and his related Executing
Derivative Claimants) and their respective Counsel. In relation to any particular Enrolled
Program Claimant, satisfaction and discharge of any and al] Governmenta] Authority
Third Party Providers/Payors statutory Liens must be established to the satisfaction of the
Claims Administrator and Merck before any Settlement Payment can be disbursed to
such Enrolled Program Claimant (and before Merck shail be required to make any
Funding Payment in respect of any such Settlement Payment). Upon request to the Lien
Resolution Administrator, Merck shalt be entitled to proof of satisfaction and discharge
of any or all such statutory Liens (in relation to Governmental Authority Third Party
Providers/Payors) in relation to any particular Enrolled Program Claimant.

12.1.4. The foregoing provisions of this Article 12 are solely for the several
benefit of Merck and the Administrators. No Enrolled Program Claimant (or related
Executing Derivative Claimant), or his Counsel, shall have any rights or defenses based
upon or arising out of any act or omission of Merck or any Administrator with respect to
this Article 12,

12.1.5. In addition to and without limitation of any of the foregoing provisions
of this Article 12, each Enrolled Program Claimant, each Executing Derivative Claimant
with respect to such Enrolled Program Claimant and their respective Counsel, jointly and
severally, shall indemnify and hold harmless Merck and each other Merck Released Party
from and against (i) any and all Claims made or asserted at any time against Merck or
any other Merck Released Party, by (x) any Third Party Provider/Payor in relation to, (y)
any Person at any time holding or asserting any Lien in relation to and/or (z) any other
Person at any time claiming by, through or under, such Enrolled Program Claimant
(and/or the Product User with respect to such Enrolled Program Claimant) or any related
Executing Derivative Claimant, with respect to any Funding Payment and/or Settiement
Payment paid or to be paid on account of such Enrolled Program Claimant’s Program
Claim (and/or the right to receive any such Settlement Payment) and (ii} any and al]
damages, losses, costs, expenses (including legal fees and expenses) and/or Liabilities
incurred or suffered by, or imposed on, Merck or any other Merck Released Party in
connection with, arising out of or resulting from any Claim described in clause {1)
(including any amount paid or required to be paid in satisfaction of any such Claim).

12.1.6,

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Article 13
No Admission of Liability or Lack of Merit

Section 13.1. No Admission of Liability or Lack of Merit

13.1.1. Neither this Agreement nor any exhibit, document or instrument
delivered hereunder nor any statement, transaction or proceeding in connection with the
negotiation, execution or implementation of this Agreement, is intended to be or shall be
construed as or deemed to be evidence of an admission or concession by Merck of any
fault, Liability, wrongdoing or damages or of the truth of any allegations asserted by any
plaintiff or claimant against it, or as an admission by any Ehgible Claimant of any lack of
merit in their EC Claims.

| 13.1.2. No Party, no Enrolling Counsel and no Program Claimant shall seek to

introduce and/or offer the terms of this Agreement, any statement, transaction cr
proceeding in connection with the negotiation, execution or implementation of this
Agreement, or any statements in the documents delivered in connection with this
Agreement, or otherwise rely on the terms of this Agreement, in any judicial proceeding,
except insofar as it is necessary to enforce the terms of this Agreement (or in connection
with the determination of any income tax Liability of a party) or any instrument executed
and delivered pursuant to this Agreement {including any Enroliment Form and the
executed attachments thereto). If a Person seeks to introduce and/or offer any of the
matters described herein in any proceeding against Merck or any Released Party, the
restrictions of this Section 13.1.2 shall not be applicable to Merck with respect to that
Person.

13.1.3. Nothing in this Article 13 applies to (i) any action to submit into
evidence in any legal proceeding (past, present or future), or otherwise to file or enforce
in any manner, or (ii) any other action by Merck in relation to, any Release, any
Dismissal With Prejudice Stipulation or any Future Evidence Waiver that is released or
provided to Merck in accordance with the terms of this Agreement.

Article 14
Reporting Obligations: Merck and NPC Access to Data

Section 14.1. Reporting Obligations

The Claims Administrator shall periodically report to the NPC and Merck as set
forth in the Administrative Agreement with the Claims Administrator.

Section 14.2. Merek and NPC Access to Data

Merck shall be entitled to review all Enrollment Forms (including all exhibits and
attachments thereto) and all Registration Affidavits {including all exhibits and attachments
thereto), and (in each case) all related materials, The representatives of Merck and the NPC
serving on the Gate Committee shail, at any time or from time to time, be afforded complete
access to and permitted to inspect all of the records or other documentation that is specified in
Article 2 may be reviewed by the Gate Committee. Each of Merck and the NPC and their

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respective representatives (including any auditing firm(s) that Merck or the NPC may retain)
shall, in connection with any exercise by it of any of its rights under Article 10, at its request and
expense, and at any time or from time to time, be afforded complete access to and permitted to
inspect such Program Claims of such Program Claimants as Merck or the NPC, as the case may
be, shall specify. For the avoidance of doubt and without limitation of the documents that
Enrolling Program Claimants execute as part of the Enrollment Form, by enrolling in the
Program each Program Claimant consents to al! access to such Program Claimant’s (and/or such
Program Claimant’s Product User’s) personal information (including PME Records) granted to
Merck, the NPC, the Gate Committee and the Administrators pursuant to this Agreement.
Neither Merck nor the NPC shall have any other right of access pursuant to the Program to such
Program Claimant's {and/or such Program Claimant’s Product User’s) personal information
(including PME Records) except as required by law.

Article 15
Public Statements: Confidentiality

Section 15.1. Program Claimant Confidential] Information

Any personal records or other personal information provided by or regarding a
Program Claimant pursuant to this Agreement, and the amount of any payments and/or awards
made to Enrolled Program Claimants under this Agreement (such amount information, “Award
Information”), shall be kept confidential by the Parties and, in the case of Award Information,
such Program Claimant (and his Executing Derivative Claimants} and his Counsel, and shall not
be disclosed except (i) to appropriate Persons to the extent necessary to process Program Claims
or provide benefits under this Agreement, (ii) as otherwise expressly pravided in this Agreement,
(iii) as may be required by law or listing agreements, (iv) as may be reasonably necessary in
order to enforce, or exercise Merck’s rights under or with respect to, such Program Claimant’s
Enroliment Form, Release, Dismissal With Prejudice Stipulation or Future Evidence Stipulation
or (with respect to such Program Claimant {and/or his Executing Derivative Claimants) or his
Counsel} this Agreement or (v) to the immediate family members, counse!, accountants and/or
financial advisors of such Program Claimant, if any (each of whom shal] be instructed by such
Program Claimant, upon such disclosure, to maintain and honor the confidentiality of such
information). All Program Claimants shall be deemed to have consented to the disclosure of
these records and other information for these purposes.

Section 15.2. Accurate Public Statement

The Parties shall cooperate in the public description of this Agreement and the
Program established herein and shall agree upon the timing of distribution.

Article 16
Miscellaneous

Section 16.1, Notice by Parties

16.1.1, Any notice, request, instruction or other document to be given by
Merck to the NPC, or to be given by the NPC or other Counsel to Merck, shal! be in
writing and delivered by mail, by Federal Express, by facsimile or, to the extent specified

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hereunder, by electronic mail, as follows, or as otherwise instructed by a notice delivered
to the other Party pursuant to this subsection:

16.1.1.1.  Ifto Merck:

Bruce N. Kuhlik

Senior Vice President and Genera! Counsel
Merck & Co., Inc.

One Merck Drive

P.O. Box 100 (WS3A-15)

Whitehouse Station, NJ 08889-0100
Telecopier: (908) 735-1244

Email: Bruce_Kuhlik@Merck.com

16.1.1.2.  Ifto the NPC:

Andy D. Birchfieid Ir.

Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.
218 Commerce Street

Montgomery, AL 36104

Telecopier: (334) 954-7555

Email: andy.birchfieid@pbeasleyallen.com

Russ M. Herman

Herman, Herman, Katz & Cotlar, LLP
820 O’ Keefe Avenue

New Orleans, Louisiana 70113-1116
Telecopier; (504} 561-6024

Email: rherman@hhke.com

Christopher A. Seeger

Seeger Weiss LLP

One William Street

New York, NY 10004
Telecopier: (212) 584-0799
Email: cseeger@seegerweiss.com

16.1.2. | Merck may for all purposes of this Agreement treat the counsel]
specified in accordance with Section 17.1.16 as such Program Claimant’s Counsel, unless
and until otherwise advised by both such Program Claimant and such counsel.

16.1.3. Any notice, request, instruction or other document to be given by any
Party or any Administrator to any Program Claimant or his Counsel hereunder, shail be in
writing and delivered by mail, by Federal Express, by facsimile transmission or by
electronic mail, and such Party or Administrator may rely on the mailing, facsimile
transmission and/or email addresses and/or numbers that were last provided by the

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Program Claimant or his Counsel to the Claims Administrator, and shall have no
obligation to (but in its sole and absolute discretion may) take other steps to locate
Program Claimants or Counse! whose mail, facsimile transmission or electronic mail has
been returned as undelivered or undeliverable. Each Program Claimant and (if
applicable) his Counsel shall have the responsibility to keep the Ciaims Administrator
informed of the correct mailing, facsimile transmission and email addresses and numbers
for both such Program Claimant and such Counsel.

16.1.4. Any such notice, request, instruction or other document shal] be
deemed to have been given as of the date so transmitted by facsimile or electronic mail,
on the next Business Day when sent by Federal Express or five Business Days after the
date so mailed, provided that if any such date on which any such notice or other
communication shall be deemed to have been given is not a Business Day, then such
notice or other communication shal] be deemed to have been given as of the next
following Business Day.

Section 16.2. Receipt of Documentation

Any form or other documentation required to be served or submitted under this
Agreement shall be deemed timely (i) if delivered by mail (and not required to be delivered in
some other fashion), if postmarked (or, in the absence of a postmark or if such postmark is
illegible, if received) on or before the date by which it is required to be submitted under this
Agreement or (ii) if delivered (and expressly permitted or required to be delivered) by electronic
mail, when it is capable of being accessed from such electronic mail address.

Section 16,3. Governing Law.

This Agreement shall be governed by and construed in accordance with the law of
New York without regard to any choice-of-law rules that would require the application of the
law of another jurisdiction.

Section 16.4. Waiver of Inconsistent Provisions of Law; Severability

16.4.1. To the fullest extent permitted by applicable law, each Party, each
Program Claimant and each Enrolied Program Claimant waives any provision of law
(including the common law), which renders any provision of this Agreement invalid,
tiiegal or unenforceable in any respect.

16.4.2. Any provision of this Agreement which is prohibited or unenforceable
to any extent or in any particular context shall be ineffective, but such ineffectiveness
shall be limited as follows: (i) if such provision is prohibited or unenforceable only in or
as it relates to a particular jurisdiction, such provision shal] be ineffective only in or as it
relates to (as the case may be) such jurisdiction and only to the extent of such prohibition
or unenforceability, and such prohibition or unenforceability in or as it relates to (as the
case may be) such jurisdiction shall not otherwise invalidate or render unenforceable such
provision (in such or any other jurisdiction); (ii) if (without limitation of, and after giving
effect to, clause {3)) such provision is prohibited or unenforceable only in a particular
context (including only as to a particular Person or Persons or under any particular

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circumstance or circumstances}, such provision shall be ineffective, but only in such
particular context; and (iii) without limitation of clauses (7) or (ii), such ineffectiveness
shall not invalidate any other provision of this Agreement. Without limitation of the
preceding sentence, it is further the desire, and intent and agreement, of the Parties that if
the Chief Administrator (or, if applicable pursuant to Section 8.1.3 or Section 8.1.4, the
Special Master or any court) determines that any provision of this Agreement is
prohibited or unenforceable to any extent or in any particular context but in some
modified form would be enforceable, the Chief Administrator (or, if applicable pursuant
to Section 8.1.3 or Section 8.1.4, the Special Master or any court) shall have the power to,
and shall, (x) modify such provision for purposes of such proceeding in accordance with
clauses (i), (ii) and (iij) of the preceding sentence and otherwise to the minimum extent
necessary so that such provision, as so modified, may then be enforced in such
proceeding, and {y) enforce such provision, as so modified pursuant to clause (x), in such
proceeding. In any event, upon any such determination that any term or other provision
is invalid, iflegal or unenforceable, the Parties shal! negotiate in good faith to modify this
Agreement so as to effect the original intent of the Parties as closely as possible to the
fullest extent permitted by applicable law. Nothing in this Section 16.4.2 is intended to,
or shall, limit (1} Section 16.4.1 or (2) the intended effect of Section 16.3.

Section 16.5. Facsimile Signatures.

This Agreement and any amendments thereto, to the extent signed and delivered
by means of a facsimile machine or electronic scan (including in the form of an Adobe Acrobat
PDF file format), shal! be treated in ali manner and respects as an original agreement and shall be
considered to have the same binding legal effect as if it were the original signed version thereof
delivered in person.

Section 16.6, Construction,

With regard to each and every term and condition of this Agreement, the parties
thereto understand and agree that the same have or has been mutually negotiated, prepared and
drafted, and if at any time the parties thereto desire or are required to interpret or construe any
such term or condition or any agreement or instrument subject hereto, no consideration shall be
given to the issue of which party thereto actually prepared, drafted or requested any term or
condition of thereof.

Section 16.7, Entire Agreement

This Agreement contains the entire agreement between the Parties with respect to
the subject matter hereof and supersedes and cancels al] previous agreements, negotiations, and
commitments in writings between the Parties hereto with respect to the subject matter hereof.

Section 16.8, Headings: References,

The headings of the Table of Contents, Articles and Sections herein are inserled
for convenience of reference only and are not intended to be a part of or to affect the meaning or
interpretation of this Agreement. Any reference to an Exhibit, Annex, or Schedule shall be
deemed to refer to the applicable Exhibit, Annex, or Schedule attached hereto, The words

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“include” and “including” and words of similar import when used tn this Agreement or any
Exhibit hereto are not limiting and shall be construed to be followed by the words “without
limitation,” whether or not they are in fact followed by such words. The definitions contained in
this Agreement or any Exhibit hereto aré applicable to the singular as well as the plural forms of
such terms. Words of any gender (masculine, feminine, neuter) mean and include correlative
words of the other genders. As used herein or in any Exhibit hereto, the term “dollars” and the
symbol “$”, shall mean United States dollars. References herein to instruments or documents
being submitted “by” any Person include (whether or not so specified) submission of the same
on behalf of such Person by his Counsel whether or not so specified, provided that if any
particular instrument or document is required herein to be executed by a particular Person, it
must (unless otherwise expressly specified herein) be so executed by such Person. References
herein to any particular Section (such as, for example, Section 4.2) shall be deemed to refer to all
sub-Sections of such Section (such, as for example, Section 4.2.1, 4.2.2, etc.), all sub-sub-
Sections of such sub-Sections, and so on; the corresponding principle applies to all references
herein to any particular sub-Section, sub-sub-Section and so on.

Section 16.9. No Third Party Beneficiaries; Assignment

16.9.1. No provision of this Agreement or any Exhibit thereto is intended to
create any third-party beneficiary to this Agreement. For the avoidance of doubt, nothing
in this Section 16.9 limits or modifies the third-party beneficiary provisions of any
Enrollment Form, Release or Dismissal With Prejudice Stipulation. This Agreement and
all of the provisions hereof shall be binding upon and inure to the benefit of the Parties
hereto and their respective successors and permitted assigns; provided, however, that
neither this Agreement nor any of the rights, interests, or obligations hereunder may be
assigned by the NPC without the prior written consent of Merck. No right to receive a
Settlement Payment may be assigned by any Program Claimant and/or any Enrolling
Counsel without the prior written consent of Merck. Any assignment in violation of this
Section 16.9.1 shall be null and void ab initio,

16.9.2, Without limitation of Section 16.9.1 but also without limitation of the
NPC’s right to enforce this Agreement, no Program Claimant (including any Enrolled
Program Claimant or Qualifying Program Claimant) shall have any right to institute any
proceeding, judicial or otherwise, against Merck, the NPC or any Administrator to
enforce, or otherwise with respect to, this Agreement.

Section 16.10. Amendments: No Implied Waiver

This Agreement may be amended by (and only by) an instrument signed by

Merck, on the one hand, and a majority in number of the NPC, on the other hand. Except where
a specific period for action or inaction is provided herein, no failure on the part of a Party to
exercise, and no delay on the part of either Party in exercising, any right, power or privilege
hereunder shall operate as a waiver thereof; nor shall any waiver on the part of either Party of
any such right, power or privilege, or any single or partial exercise of any such right, power or
privilege, preclude any other or further exercise thereof or the exercise of any other right, power
or privilege; nor shall any waiver on the part of a Party, on any particular occasion or in any

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particular instance, of any particular right, power or privilege operate as a waiver of such right,
power or privilege on any other occasion or in any other instance.

Section 16.11. Cotinterparts

This Agreement may be executed in any number of counterparts, each of which
shall be an original and all of which shall together constitute one and the same instrument, It
shall not be necessary for any counterpart to bear the signature of all Parties hereto.

Section 16.12. Tax Matters

The Parties agree to characterize the Administration Expenses Fund, the IS
Settlement Fund and the MI Settlement Fund for federal, state and loca] income tax purposes in
such mamner as is reasonably determined by Merck, including without limitation as a “qualified
settlement fund” within the meaning of Treasury Regulation Section 1.468B-1 or as a grantor
trust pursuant to an election under Treasury Regulation Section 1.468B-1(k) or otherwise. The
Escrow Agent and Merck shall timely provide the other with such material and relevant
information as and to the extent reasonably requested by the other party in connection with any
tax filing or the payment of any taxes or any private letter ruling regarding the tax status of the
Funds.

Section 16.13. Further Assurances

From time to time following the Execution Date, (if) each Party shall take such

_ reasonable actions consistent with the terms of this Agreement as may reasonably be requested
by the other Party, and otherwise reasonably cooperate with the other Party in a manner
consistent with the terms of this Agreement as reasonably requested by such other Party, and (ii)
each Program Claimant (and his related Executing Derivative Claimants) and their Counsel shall
take such reasonable actions consistent with the terms of this Agreement as may reasonably be
requested by Merck or the NPC, and otherwise reasonably cooperate with Merck and the NPC in
a manner consistent with the terms of this Agreement as reasonably requested by Merck or the
NPC, in the case of each of (i) and (ii) as may be reasonably necessary in order further to
effectuate the intent and purposes of this Agreement and to carry out the terms hereof.

Article 17
Definitions

Section 17,1. Definitions

For the purposes of this Agreement, the following terms (designated by initial
capitalization throughout this Agreement) shall have the meanings set forth in this Section.

17.1.1. “Adjusted 1S Settlement Amount” means, at any date of computation,
(i) the IS Aggregate Settlement Amount, minus (ii) the aggregate amount of all 1S
Settlement Payments (other than IS Interim Settlement Payments or IS Final Settlement
Payments) paid or to be paid under this Agreement (for the avoidance of doubt,

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disregarding for purposes of this clause (ii) the effects of Article 12), determined as of
such date of computation.

17.12. “Adjusted MI Settlement Amount” means, at any date of computation,
(i) the MI Aggregate Settlement Amount, minus (ii) the aggregate amount of all MJ
Settlement Payments (other than MI Interim Settlement Payments or MI Final Setilement
Payments) paid or to be paid under this Agreement (for the avoidance of doubt,
disregarding for purposes of this clause (ii) the effects of Article 12), determined as of
such date of computation.

17.1.3. “Administrative Agreement” means any agreement among (i) an
Administrator, (ii) Merck and (iii) a majority in number of the NPC, with respect to such
Administrator’s service in connection with the Program.

17.1.4. “Administrative Expenses” means (i) any fees, expenses,
indemnification payments or other like amounts payable from time to time to past or
present Administrators pursuant to past or present Administrative Agreements, (ii) any
amounts required to be expended to acquire and maintain insurance for the benefit of the
past or present Administrators pursuant io the terms cf any past or present Administrative
Agreement and (lif) such other amounts as may be specified in any past or present
Administrative Agreement to constitute “Administrative Expenses” for purposes of this
Agreement.

17.1.5. “Administrative Expenses Fund” means the escrow sub-account
account of such name established under the Escrow Agreement.

17.1.6. “Administrators? means the Persons from time to time serving as the
Chief Administrator, the Claims Administrator, the Special Master, the Deputy Special
Master and/or the Escrow Agent,

17.1.7. “Agreement” means this Settlement Agreement, including the Exhibits
and Schedules thereto, as the same may be amended or modified from time to lime in
accordance with the terms hereof.

17.1.8. “Business Dav” means any day that is not a Saturday, a Sunday or
other day on which commercial banks in the City of New York, New York or the State of
New Jersey are required or authorized by law to be closed.

17.1.9. “Chief Administrator” means the Person from time to time appointed
by mutual agreement of Merck, on the one hand, and a majority in number of the NPC,
on the other hand, to fuifi!l the functions of the “Chief Administrator” under this
Agreement (so long as such Person continues to serve in such capacity).

17.1.10. “Claims” means any and all rights, remedies, actions, claims,
demands, causes of action, suits at law or in equity, verdicts, suits of judgments,
judgments and/or Liens (including any of the foregoing for wrongful death, personal
injury and/or bodily injury, sickness, disease, emotional distress and/or injury, mental or
physical pain and/or suffering, emotional and/or mental harm, fear of disease or injury,

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loss of enjoyment of life, loss of society, loss of companionship, loss of income, loss of
consortium, medical expenses, future cost of insured services, past cost of insured
services or any other form of injury, and including any of the foregoing for direct
damages, indirect damages, consequential damages, incidental damages, punitive
damages or any other form of damages whatsoever), whether based upon contract, breach
of contract, warranty or covenant, breach of warranty or covenant, tort, negligence, gross
negligence, recklessness, joint and several liability, guarantee, contribution,
reimbursement, subrogation, indemnity, defect, failure to warn, fault, strict liability,
misrepresentation, common law fraud, statutory consumer fraud, quantum meruit, breach
of fiduciary duty, violation of statutes or administrative regulations and/or any other legal!
(including common law), statutory, equitable or other theory or right of action, whether
presently known or unknown, developed or undeveloped, discovered or undiscovered,
foreseen or unforeseen, matured or unmatured, accrued or not accrued, or now
recognized by law or that may be created or recognized in the future by statute,
regulation, judicial decision or in any other manner,

17.41.11. “Claims Administrator” means the Person or Persons from time to
time appointed by mutual agreement of Merck, on the one hand, and a majority in
number of the NPC, on the other hand, to fulfill the functions of the “Claims
Administrator” under this Agreement (so long as such Person or Persons continues to
serve in such capacity).

17.1.12, “Claims Form” means a claim form in the form of Exhibit 17.1.12.

17.1.13. “Claims Package” means, with respect fo any particular Enrolled
Program Claimant, all of the following in relation to such Enrolled Program Claimant's
Product User: the Claims Form, all Supplementary Claims Forms, all Required PME
Records, all Additional Claims Information requested by the Claims Administrator, all
Profile Forms and any such other PME Records as such Enrolled Program Claimant in its
discretion may submit,

17.14.14. “Connected With VIOXX” means to any extent, or in any way,
arising out of, relating to, resulting from and/or connected with VIOXX (and/or VIOXX
and any other drug or substance, regardless of when such other drug or substance is or
was ingested or alleged to be ingested) and/or with any injury claimed to have been
caused, in whole or in part, by VIOXX (and/or VIOXX and any other drag or subsiance,
regardless of when such other drug or substance is or was ingested or alleged to be
ingested).

17.1.15. “Coordinated Proceedings Counsel” means any lawyer or law firm that
had an action pending in any of the Coordinated Proceedings as of the Execution Date.

17.1.16. “Counsel” means, with respect to any particular Person, a lawyer or
law firm who represents such Person pursuant to a written agreement, provided that, for
all purposes of this Agreement, the “Counsel” of any particular Enrolled Program
Claimant shall be the jawyer or law firm named as such in such Enrolied Program
Claimant’s Enrollment Form. However, if (i) two or more lawyers or law firms are

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named as a particular Enrolled Program Claimant’s counsel in two or more Enrollment
Forms, then the Claims Administrator shall (at Merck’s direction) suspend further
consideration of such Enrolled Program Claimant’s Program Claim until such time as
such Enrolled Program Claimant, or all such lawyers or law firms, irrevocably designate,
in a notice to the Claims Administrator, which single lawyer or law firm is such Enrolled
Program Claimant’s primary counse! (or until otherwise directed by Merck). Such
designated primary counsel shall, for all purposes of this Agreement, be the sole
“Counsel” of such Enrolled Program Claimant.

17.1.17. “Deputy Special Master” means the Person or Persons from time to
time appointed by a Special Master in accordance with the terms of the Special Master’s
Administrative Agreement or otherwise with the consent of Merck, on the one hand, and
a majority in number of the NPC, on the other, to fulfill (either in the place of, or in
addition to, the Special Master) the specific functions of the “Special Master” under this
Agreement specified in such appointment {so long as such Person or Persons continues to
serve in such capacity). A Deputy Special Master shall have the same rights, powers,
duties, privileges and immunities of the Special Master, and a Deputy Special Master’s
determinations shall have the same status and effect as those of the Special Master, in
relation to such specific functions.

17.1.18. “Derivative Claimant” means, in relation to any particular Eligible
Claimant or Program Claimant, any Person having or asserting the right, etther statutory
or under applicable coramon law (including the laws of descent and distribution) or
otherwise, to sue Merck or any other Released Party, independently, derivatively or
otherwise:

17.1.18.1. by reason of their personal relationship with such Eligible
Claimant or Program Claimant (or the Product User with respect to such Eligible
Claimant or Program Claimant); and/or

17.1.18.2. otherwise by, through or under, or otherwise in relation to,
such Eligible Claimant or Program Claimant (or the Product User with respect to
such Eligible Claimant or Program Claimant);

including the heirs, beneficiaries, surviving spouse (including a putative or common law
spouse), surviving domestic partner and next of kin of such Eligible Claimant or Program
Claimant (or the Product User with respect to such Eligible Claimant or Program
Claimant).

17.1.19. “Dismissal With Prejudice Stipulation” means a “Dismissal With
Prejudice Stipulation” in the form thereof included in the form of Enrollment Form
attached hereto or in such other form as is mandated by the Enrollment Form.

17.120. “Dispensing Physician” means any physician who purchases
prescription drugs for the purpose of dispensing them to patients or other individuals
entitled to receive the prescription drug and who dispenses them accordingly.

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17.1.21. “EC Claim” means, in relation to any Eligible Claimant, such Eligible
Claimant’s claim as described in Section 17.1.22.3.

17.1.22. “Eligible Claimant” means a natural person or the Legal
Representative(s) thereof:

17.1.22.1. which natural person was a United States citizen or a legal
resident of the United States or was physically located in the United States, in
each case when the alleged Eligible Event referred to in Section 17.1.22.3 is
alleged to have occurred;

17.1.22.2. which natural person or Legal Representative(s) (i) as of
the Execution Date had a lawsuit pending (in any court in the United States)
against, or was (directly or through counsel) a party to a Tolling Agreement with,
Merck with respect to an allegation described in Section 17.1.22.3, or (ii) prior to
ihe Execution Date was (directly or through counsel) a party to a Tolling
Agreement with Merck with respect to an allegation described in Section
17.1.22.3 which Tolling Agreement has been terminated by Merck; and

17.1.22.3. which natural person alleges, or is alleged, to have
suffered losses or damages as a result of such natura] person’s own alleged |
Eligible Event alleged to have been caused (in whole or in part) by such natural
person’s alleged ingestion of VIOXX.

For the avoidance of doubt, it is understood and agreed that (i) subject to clause (ii), the
Legal Representative (or, if more than one, the Legal Representatives collectively), of a
particular natural person (including a deceased natural person), in such capacity, has the
same status hereunder as such particular natural person, and (ii) a natural person
(including a deceased natural person) and his or her Legal Representative(s) shall
constitute a single Eligible Claimant. Notwithstanding the foregoing provisions of this
Section 17.1,22, (i) no Person who prior to the Execution Date had an action against
Merck Connected With VIOXX dismissed with prejudice which dismissal is not as of the
Execution Date under appeal (or their respective Legal Representatives) and (ii) none of
the Persons set forth on Schedule }7.1.22 (nor their respective Legal Representatives),
shall constitute “Eligible Claimants” (and accordingly none of such Persons (or their
respective Legal Representatives) may participate in the Program).

17.1.23, “Eligible Event” means an MI or IS.

17.1.24. “Enrolled Program Claimant” means a Person who (as a purported
“Eligible Claimant”) has submitted an Enrollment Form (or on whose behalf an
Enrollment Form has been submitted) to Merck on or prior to the Enrollment Deadline
Date, which Enrollment Form has not been rejected by Merck pursuant to Section 1.2.

17.1.25. “Enrolling Counsel” means any lawyer or law firm who files an
Enrollment Form.

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17.1.26. “Enrollment Deadline Date” means the Walk Away Enro!lment
Deadline Date, provided that if (i) no Walk Away Right arises in relation to Section
ti.t.1, 21.1.2, 11.1.3, 11.1.4 or 11.1.5 or (ii} a Walk Away Right does arise in relation to
one or more of such Sections, but Merck in its sole and absolute discretion waives, and/or
fails timely to exercise, its Walk Away Right with respect to all of the relevant Sections,
the Enrollment Deadline Date automatically shall be extended (effective retroactively as
of such former Enrollment Deadline Date) to October 30, 2008.

17.1.27, “Enrollment Form” means a Program Participation Enrollment Form,
Release and Dismissal With Prejudice Stipulation, including al! attachments thereto, a]
in the form of Exhibit 17.1.27.

171.28, “Escrow Agent” means U.S. Bancorp or such other Person or Persons
from time to time appointed by the NPC, with the consent of Merck (not to unreasonably
be withheld), to fulfill the functions of the “Escrow Agent” under the Escrow Agreement
(so long as such Person or Persons continues to serve in such capacity).

17.1.29, “Escrow Agreement” means an escrow agreement substantially in the
form of Exhibit 17.1.29, with such changes from such form that may be requested by the
proposed “Escrow Agent” thereunder, are agreed to by Merck and either (i) are not
material or (ii) are consented to by a majority in number of the NPC (such consent not to
be unreasonably withheld or delayed), as the same may be amended from time fo time in
accordance with the terms thereof.

17.1.30. “Escrow Funds” means the Administrative Expenses Fund, the MI
Settlement Fund and the {8 Settlement Fund.

17.131. “Event Records” means all records relating to the immediate medical
care and treatment to address an Enrolled Program Claimant’s Related Eligible Event.
“Event Records” include Medical Records from the hospital, medical center, or
healthcare facility that treated the Enrolled Program Claimant immediately following his
Related Eligible Event (including any Medical Records from ambulance workers,
paramedics, and emergency rooms whose Medical Records are included in such
hospital’s, medical center’s, or healthcare facility’s Medical Records), including all
facilities to which the Enrolled Program Claimant was transferred for continued care and
treatment of the alleged Related Eligible Event. In the case ofa fatal event, “Event
Records” shall also include the death certificate and any autopsy report.

17.1.32. “Excess Administrative Expenses Fund Amount” means, al any date of
computation, the excess, if any, of (i} the balance of the Administrative Expenses Fund at
such time over (ii) the sum of (x) the Remaining Administrative Expenses Estimate, plus
(y) the aggregate amount of Administrative Expenses (if any) theretofore paid directly by
Merck.

17.133. “Executing Derivative Claimant” means, in relation to any particular
Program Claimant, any Derivative Claimant in relation to such Program Claimant that
has executed such Program Claimant’s Release.

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17.134. “Governmental Authority” means any governmental authority,
including (i} the United States or any other country, any state, province, territory or
possession of the United States or any other country, and any local or other governmental
body, or other political subdivision, in or of any of the foregoing, (ii) any multinational
organization or body and (iii) any agency, board, bureau, court, commission, department,
instrumentality or administration of any of the forgoing described in clauses (i) or (ii).

17.1.35. A lawyer or law firm shall be deemed to have an “Interest” in a
Person, or in a Claim ofa Person, if the lawyer or law firm or any Person affiliated or
related in any way to the lawyer or jaw firm:

17.1.35.1, has an engagement or retainer agreement with such
Person;

17.1.35.2, is listed as the counsel of record for such Person in filed
pleadings:

17,1.35.3. has entered an appearance for such Person;

17.1.35.4. would benefit directly or indirectly from any payment to
settle any Claim of such Person Connected With VIOXX; or

17.1.35,5. otherwise has any financial interest in any Claim of such
Person Connected With VIOXX,

For the avoidance of doubt (and without limitation), an individual lawyer is deemed to
have an “Interest” in a Person, or in a Claim of a Person, in which any law firm of or with
which such individual lawyer is a partner, associate or otherwise affiliated has an Interest,
and vice versa.

17,1.36, “Interim Settlement Pavment” means an MI Interim Settlement
Payment or IS Interim Settlement Payment.

17.137, “LS” means ischemic stroke or ischemic cerebrovascular event or
accident {L.e., ischemic stroke, intracranial thrombosis, cerebral embolism, thrombotic
stroke, embolic stroke, lacunar infarct, lacunar stroke, thrombotic occlusion,
cerebrovascular event ar accident that is not a primary hemorrhagic event, and cerebral]
infarction; or a hemorrhagic stroke that is secondary to the terms previously listed).

17.138. “IS Aggregate Settlement Amount” means the sum of
(i) $850,090,000, plus {ii} an amount equal to any amount transferred to the IS Settlement

Fund pursuant to Section 5.4.1.

17.1.39. “IS Eligible Claimant” means an Eligible Claimant whose alleged
Related Eligible Event is an IS,

17.1.40. “IS Point Value” means the quotient of (i) the Adjusted IS Settlement
Amount divided by (ii) the aggregate number of Points awarded to al! IS Qualifying

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Program Claimants (other than those who elected to receive a Fixed Payment pursuant to
Section 3.3). The 1§ Point Value shall be determined only at the time that Final
Settlement Payments are to be made to IS Qualifying Program Claimants in accordance
with Section 4.3.

17.1.41. “IS Qualifying Program Claimant” means a Qualifying Program
Claimant whose Related Eligible Event is an IS.

17,1.42, “IS Settlement Fund” means the escrow sub-account of such name
established under the Escrow Agreement.

17.31.43, “IS Settlement Fund Top-Up Amount” means, at any date of
computation, (i) the IS Aggregate Settlement Amount, minus (ii) the aggregate of all
deposits theretofore made (by Merck or from the proceeds of any draw under any Letter
of Credit) into the IS Settlement Fund, plus (iii) if applicable, the aggregate amount
retumed to Merck from the IS Settlement Fund pursuant to Section 5.3.6.

17,1.44, “IS Settlement Payment” means any JS Interim Settlement Payment,
IS El Payment, IS Fixed Payment or JS Final Settlement Payment,

17.1.45. “Legal Representative” means, as to any particular natural person
(including a deceased natural person), the estate, executor, administrator, guardian,
conservator or other legal representative thereof.

17.146. “Letter of Credit* means a letter of credit substantially in the form of
Exhibit 17.1.46, with such changes from such form that may be requested by the
proposed “Issuing Bank” thereunder, are agreed to by Merck and either (i) are not
material or (ii) are consented to by a majority in number of the NPC (such consent not to
be unreasonably withheld or delayed).

17.1.47. “Liabilities” means any and all debts, liabilities, covenants, promises,
contracts, agreements and/or obligations of whatever kind, nature, description or basis,
whether fixed, contingent or otherwise, whether presently known or unknown, developed
or undeveloped, discovered or undiscovered, foreseen or unforeseen, matured or
unmatured, or accrued or not accrued.

17.1.48. “Lien” means any mortgage, lien, pledge, charge, security interest,
encumbrance, assignment, subrogation right, third-party interest or adverse claim of any
nature whatsoever, in each case whether statutory or otherwise, including any of the
foregoing in relation to Medicare or Medicaid, any Third Party Provider/Payor or any
lawyer or law firm,

17.1.49. “Lien Resolution Administrator” means the Person or Persons from
time to time appointed by the Chief Administrator based on a joint recommendation of
Merck, on the one hand, and a majority in number of the NPC, on the other hand, to
fulfill the functions of the “Lien Resolution Administrator” under this Agreement (so
long as such Person or Persons continues to serve in such capacity}. If} at any time, two

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or more Persons constitute the “Lien Resolution Administrator”, then any determination
of the Lien Resolution Administrator shall be made by a majority of such Persons.

17.1.50. “Litigation Medical Records Depository” means the depository
through which Merck delivers medical records it collects by way of authorization or
subpoena to plaintiffs’ counsel in the various Coordinated Proceedings and elsewhere.

17.1.51. “Medical Records” means the entire record maintained by an
individual healtheare provider or facility relating to the medical history, care, diagnosis
and treatment of an Enrolled Program Claimant including new patient intake forms
completed by or on behalf of an Enrolled Program Claimant, doctor’s notes, nurse’s
notes, physician’s orders, consultation reports, laboratory test results, EEGs, EKGs, x-ray
reports, CT scan reports, MRI scan reports, catheterization reports, angiogram reports,
arteriogram reports, reports of any diagnostic procedures, tests or imaging studies,
operative reports, history and physicals, pathology reports, admission summaries,
discharge summaries, consent forms, prescription records, medication records, medical
bills and invoices and all communications between a healthcare provider and an Enrolled
Program Claimant or between two cr more healthcare providers relating to an Enrolled
Program Claimant, including telephone messages, correspondence and memoranda.

17.1.52. “Merck Released Party” has the meaning ascribed to such term in the
form of Release included in the form of Enrollment Form attached hereto.

17.1.53. “MI means (i) a myocardial infarction or heart attack or (11) an SCD,

17.154, “MI Aggregate Settlement Amount” means the sum of
(i) $4,000,000,000, plus (it) an amount equal to any amount transferred to the MI
Setulement Fund pursuant to Section 5.4.1.

17.1.55. “MI Eligible Claimant” means an Eligible Claimant whose alleged
Related Eligible Event is an MI.

17,.1.56. “MIPoint Value” means the quotient of (i) the Adjusted MI
Settlement Amount divided by (ii) the aggregate number of Points awarded to all MI
Qualifying Program Claimants (other than those who elected to receive a Fixed Payment
pursuant to Section 3.3). The MI Point Value shall be determined only at the time that
Final Settlement Payments are to be made to MI Qualifying Program Claimants in
accordance with Section 4,3.

17.1,57, “MI Qualifving Program Claimant” means a Qualifying Program
Claimant whose alleged Related Eligible Event is an MI.

17.1.58. “MI Settlement Fund” means the escrow sub-account of such name
established under the Escrow Agreement,

17.159. “MI Settlement Fund Top-Up Amount” means, at any date of
computation, (i) the MI Aggregate Settlement Amount, minus (ii) the aggregate of all

deposits theretofore made (by Merck or from the proceeds of any draw under any Letter

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of Credit) into the MI Settlement Fund, plus (iii) if applicable, the aggregate amount
returned to Merck from the MI Settlement Fund pursuant to Section 5.3.6.

17.160. “MI Settlement Payment” means any MI Interim Settlement Payment,
M1 EI Payment, MI Fixed Payment or MI Final Settlement Payment.

17.1.61. “Non-Merck Released Party” has the meaning ascribed to such term in
the form of Release included in the form of Enrollment Form attached heretc.

17.1.62. “Non-Appealable” means not subject to (i} any further right of appeal
to any Administrator or otherwise within the Program or (ii) any right of appeal to the
MDL Court, any other Coordinated Proceedings court or any other court.

17,1.63. “Overall Settlement Amount” means the sum of the MI Aggregate
Settlement Amount and the IS Aggregate Settlement Amount.

17.1.64. “Person” means a natural person, partnership (whether general or
limited), limited liability company, trust, estate, association (including any group,
organization, co-tenancy, plan, board, council or committee), corporation, Governmental
Authority, custodian, nominee or any other individual or entity (or series thereof) in its
own or any representative capacity, in cach case, whether domestic or foreign.

17.1.65. “Pharmacy Records” means all documents that relate to the
preparation, dispensing and provision of medicine, medical devices, or other treatment
modalities by a pharmacy or Dispensing Physician.

17.1.66. “Plaintiffs’ Executive Committee” or “PEC” means the following
persons who were appointed by the MDL Court: Andy D. Birchfield, Jr, Russ M.
Herman, anc Chris A. Seeger.

17.1.67. “Plaintiffs Liaison Counsel” or “PLC” means the Siatson counsel
appointed by the MDL Court: Russ M. Herman.

17.1.68. “PME Records” means Pharmacy Records, Medical Records and
Event Records.

17.1.69. “Points” has the meaning ascribed to such term in Exhibit 3.2.1.

17.1.70. “Product User” means, in relation to any particular Eligible Claimant
or Program Claimant, the natural person (including the deceased natural person) referred
tc in the definition of the term “Eligible Claimant” (as opposed to any Legal
Representative in respect of such natural person),

17.1.71, “Profile Form” means all of the following (to the extent the same
exists in relation to any particular Person): (i) a written request for information that a
plaintiff who has an active lawsuit in one of the Coordinated Proceedings must complete
pursuant to one of the following sets of orders: (1) Pretrial Orders 18, 18A, 18B, and
18C (dated August 4, 2005, August 16, 2005, September 14, 2005, and June 29, 2006,

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